Case 5:20-cv-02618-JWH-kk Document 170-6 Filed 10/06/23 Page 1 of 4 Page ID #:2126
Case 5:20-cv-02618-JWH-kk Document 170-6 Filed 10/06/23 Page 2 of 4 Page ID #:2127
Case 5:20-cv-02618-JWH-kk Document 170-6 Filed 10/06/23 Page 3 of 4 Page ID #:2128
10/5/23,Case
        9:35 PM5:20-cv-02618-JWH-kk        Document 170-6   Filed
                                                       Tracking     10/06/23
                                                                | UPS - United StatesPage 4 of 4 Page ID #:2129




     Proof of Delivery
     Dear Customer,
     This notice serves as proof of delivery for the shipment listed below.

     Tracking Number
     1Z0282R71317171549

     Weight
     0.20 LBS

     Service
     UPS Next Day Air Saver®

     Shipped / Billed On
     10/04/2023

     Delivered On
     10/05/2023 3:45 P.M.

     Delivered To
     LOS ANGELES, CA, US

     Received By

     FTDOOR

     Please print for your records as photo and details are only available for a limited time.
     Sincerely,
     UPS
     Tracking results provided by UPS: 10/05/2023 9:35 P.M. EST




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